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           EXHIBIT 4
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     Pierce Bainbridge Leader John Pierce Is On Leave Amid
     Financing Questions
     John Pierce, the rm's founder and public face, is on a leave of absence while Tom Warren is now
     the rm's acting managing partner, according to a spokeswoman.
     By Jack Newsham | March 10, 2020




     John Pierce. Photo by Jack Newsham/ALM.


     Pierce Bainbridge Beck Price & Hecht founder John Pierce is on a leave of absence from the rm as an internal
     investigation showed he accepted money from a lender for personal use, according to a statement from a law
       rm spokeswoman Monday.

     “A preliminary investigation has revealed that John M. Pierce accepted money from Karish Kapital LLC for his
     personal use. Mr. Pierce is on an inde nite leave of absence from the rm,” said Holly Baird, who identi ed
     herself as a spokeswoman representing the rm.

     Baird later sought to eliminate the “inde nite” description from the statement but provided no details on the
     length of the leave. She said partner Tom Warren has taken over as acting managing partner “as the rm
     continues its investigation.”
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     Pierce, when reached on Monday evening, said he was dealing with “family, medical” issues and strongly
     denied the statement, saying it was false.

     Warren did not directly respond to questions about Pierce’s comments on the statement. However, in another
     email, Baird told Law.com, “We know this has been a di cult time for John, and we wish him well.”

     The statement came hours after Law.com asked the rm about public records led on Feb. 25
     (https://www.documentcloud.org/documents/6801922-Karish-Kapital-UCC-1.html) that show Karish Kapital
     LLC led a lien on the assets of the Pierce Bainbridge rm, Pierce individually, and John M Pierce Enterprises
     LLC. The lender lists a residential address in Flushing, Queens.

     Law rms, particularly plainti s rms, are known to turn to specialized sources of nance. But
     KarishCapital.com, which links to social media pages for “Karish Kapital,” portrays the entity as a merchant
     cash advance company, essentially a payday lender for small businesses.

     The Karish Kapital lien lists all the debtors’ assets as collateral and alludes to an agreement that prohibits
     “debtor” from any “further encumbering” of the collateral.

     Yair Matan, who is listed on a phone directory at Karish Kapital’s address, hung up twice on a reporter Friday,
     promising to call back. He didn’t.

     Pierce Bainbridge has been open about its use of litigation funding to grow rapidly
     (https://www.law.com/americanlawyer/2018/08/02/is-this-the-fastest-growing- rm-in-big-law/). Former
     partner Donald Lewis has accused (https://www.law.com/americanlawyer/2019/05/17/ex-partners-suit-
     targets-pierce-bainbridges-ties-with-litigation-funder/) the rm of misleading Pravati Capital, one of its earlier
     backers, about the prospect of recovery in several major cases, but the rm and Pravati have said their
     relationship ended amicably.

     Two sources told Law.com that Warren, a partner in Pierce Bainbridge’s Los Angeles o ce who joined the rm
     from Baker & Hostetler, had taken over as rm leader in recent days. Pierce’s pro le no longer appears on the
       rm’s website. Jim Bainbridge is listed on the rm’s website as co-managing partner.

     The turmoil at the top comes amid more departures in the rm’s partnership. Not long after the lien was led
     Feb. 25, between March 1 and March 4, four partners disappeared from Pierce Bainbridge’s website.

     In New York, they are Caroline Polisi, a white-collar defense lawyer known for her frequent television
     appearances, and Yavar Bathaee, a former Sullivan & Cromwell lawyer with a focus on legal technology. In
     Boston, they are Tom Frongillo, an ex-prosecutor who once led Weil, Gotshal & Manges’ litigation team in the
     city, and Ted Folkman, who joined from Murphy & King.

     Pierce Bainbridge has grabbed headlines in recent years for its rapid growth
     (https://www.law.com/americanlawyer/2018/08/02/is-this-the-fastest-growing- rm-in-big-law/)and its
     clients. The rm has represented clients such as Rudy Giuliani, Tulsi Gabbard and Michael Avenatti.

     Pierce has also made headlines for his bravado. He once said his rm will overtake Quinn Emanuel Urquhart
     & Sullivan as a top plainti s rm within “ ve to seven years.” Still, the latest departures come after Law.com
     noted six other partners (https://www.law.com/americanlawyer/2019/10/17/amid-partner-losses-pierce-says-
     not-everyone-can-be-a-seal/)left from August to October of last year. Earlier this year, two white-collar defense
     partners who were representing Giuliani on Ukraine-related investigations left for Armstrong Teasdale.
     (https://www.law.com/newyorklawjournal/2020/01/27/2-pierce-bainbridge-partners-depart-for-armstrong-
     teasdale/)




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